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                                 UNITED STATES BANKRUPTCY COURT
                                      District of New Jersey Trenton

   In re:                                                                    Case No.: 21-30589
    LTL Management LLC,                                                       Chapter: 11
          Debtor(s).




                                       CERTIFICATE OF SERVICE

          I, Tinamarie Feil, state as follows:

          I am over the age of 18 and not a party to the above-captioned case. I certify that on February
 7, 2022, as directed by Sherman, Silverstein, Kohl, Rose & Podolsky, P.A., Proposed Local Counsel to
 the Official Committee of Talc Claimants II, true and correct copy(s) of the following document(s) were
 served on the party(s) listed on the attached exhibit(s) via the mode(s) of service thereon indicated:


       Motion in Limine Castellano-Bell
       Kathleen Hartnett Pro Hac Application
       Julie Veroff Pro Hac Application
       Erica Richards Pro Hac Application
       Lauren Reichardt Pro Hac Application
       Shamis Beckley Pro Hac Application
       Nicholas Flath Pro Hac Application
       Bailey Glasser January 2022 Monthly Fee Statement


 In addition, the Bailey Glasser January 2022 Monthly Fee Statement was served via email on LTL
 Management LLC (jkim8@its.jnj.com).


 I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 February 7, 2022



                                                            Tinamarie Feil
                                                            BMC Group, Inc.
                                                            Approved Bankruptcy Notice Provider
                                                            info@bmcgroup.com; 888.909.0100




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